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               UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA



  CARLOS JONATHAN
  GONZALEZ BECERRA,                   CV 21-1865 DSF
        Petitioner,
                                      JUDGMENT
                  v.

  UNITED STATES OF AMERICA,
        Respondent.



    The Court having denied the petition for a writ of habeas corpus,

    IT IS ORDERED AND ADJUDGED that Petitioner not receive the
 relief he sought in the petition.



  Date: October 4, 2021               ___________________________
                                      Dale S. Fischer
                                      United States District Judge
